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Rescinding Security Clearances and Access to Classified
Information from Specified Individuals
    whitehouse.gov/presidential-actions/2025/03/rescinding-security-clearances-and-access-to-classified-information-
from-specified-individuals

                                                                                                         March 22, 2025




MEMORANDUM FOR THE HEADS OF EXECUTIVE DEPARTMENTS AND AGENCIES

SUBJECT: Rescinding Security Clearances and Access to Classified Information from
Specified Individuals


I have determined that it is no longer in the national interest for the following individuals to
access classified information: Antony Blinken, Jacob Sullivan, Lisa Monaco, Mark Zaid,
Norman Eisen, Letitia James, Alvin Bragg, Andrew Weissmann, Hillary Clinton, Elizabeth
Cheney, Kamala Harris, Adam Kinzinger, Fiona Hill, Alexander Vindman, Joseph R. Biden
Jr., and any other member of Joseph R. Biden Jr.’s family. Therefore, I hereby direct every
executive department and agency head to take all additional action as necessary and
consistent with existing law to revoke any active security clearances held by the
aforementioned individuals and to immediately rescind their access to classified information.
I also direct all executive department and agency heads to revoke unescorted access to
secure United States Government facilities from these individuals.




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This action includes, but is not limited to, receipt of classified briefings, such as the
President’s Daily Brief, and access to classified information held by any member of the
Intelligence Community by virtue of the named individuals’ previous tenure in the Congress.

In the event that any of the named individuals received a security clearance by virtue of their
employment with a private entity, the United States Government entity that granted the
security clearance should inform the private entity that these individuals’ ability to access
classified information has been revoked.

This memorandum is not intended to, and does not, create any right or benefit, substantive
or procedural, enforceable at law or in equity by any party against the United States, its
departments, agencies, or entities, its officers, employees, or agents, or any other person.




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